           Case 1:09-cv-03280-AT Document 262 Filed 11/14/11 Page 1 of 7




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


JOHNNY BATES and PATRICIA                  :
MIDDLETON BATES,                           :
                                           :
      Plaintiffs,                          :         CIVIL ACTION NO.
                                           :          1:09-CV-3280-AT
      v.                                   :
                                           :
MICHELIN NORTH AMERICA, INC.,              :
                                           :
      Defendant.                           :

                                     ORDER

      This matter is before the Court on Defendant Michelin North America’s

request to seal certain Exhibits the parties used at the September 19, 2011,

sanctions hearing and Plaintiffs’ Motion to File Documents Under Seal regarding

Plaintiffs’ Notice of Filing Affidavit of Troy Cottles, Plaintiffs’ Response to

Defendant Michelin North America, Inc.’s Motion to Exclude Certain Opinions of

Mr. Troy Cottles, and Plaintiffs’ Response to Defendant Michelin North America,

Inc.’s Motion for Partial Summary Judgment.           (See Plaintiffs’ Notice of

Presentation of Motion to Seal, Doc. 238.) For the reasons set forth below, the

parties’ requests to seal documents in this matter are GRANTED.
        Case 1:09-cv-03280-AT Document 262 Filed 11/14/11 Page 2 of 7




I.    Discussion

      A.     Parties’ Agreed Upon Procedure for Use of Confidential
             Material

      On April 5, 2010, the parties submitted a Stipulated Confidentiality Order

to the Court for approval.     (See Doc. 28.)       Judge Story entered the parties’

Stipulated Confidentiality Order on April 7, 2010, which has governed the parties’

production and use of material designated as confidential. (See Doc. 29.) Section

III(6) of the Stipulated Confidentiality Order provides that “Confidential Material

may be referred to or incorporated in briefs, affidavits, or other documents filed

with this Court, provided that such documents are filed with the Clerk of

Court under seal and prominently marked ‘Confidential Material Subject to

Confidentiality Order.’”   (Doc. 29-1 at § III(6)) (emphasis added). Section III(7)

of the Stipulated Confidentiality Order provides that “Confidential Material may

be offered into evidence, if otherwise admissible, or otherwise disclosed in this

action at trial or at hearings, etc., provided that the offering party gives the

Designating Party prior written notice consistent with the local rules of court, and

in any event, in sufficient time so that the Designating Party has adequate

opportunity to object to the proffer or otherwise to seek protection of the

Confidential Material, including but not limited to in camera treatment of the

Confidential Material.” (Doc. 29-1 at § III (7).)




                                          2
         Case 1:09-cv-03280-AT Document 262 Filed 11/14/11 Page 3 of 7




      B.     Parties’ Agreed Upon Procedure                    for    Challenging
             Designation of Confidential Material

      Section II(3) of the Stipulated Confidentiality Order provides that “If a

party disagrees with a designation of confidentiality, the party shall notify the

Designating Party in writing. If the dispute cannot be resolved by agreement, the

material designated as confidential shall remain confidential unless, within thirty

(30) days of service of the notice of disagreement, or such other time period as

the parties may agree upon, the party objecting to the designation applies to this

Court for an Order specifically overruling the confidentiality designation . . . All

disagreement notices and motions seeking a ruling overturning a confidentiality

designation must be filed and served no later than ninety (90) days before trial.”

(Doc. 29-1 at § II(3).)

      C.     Proceedings     Subsequent          to    Entry     of    Stipulated
             Confidentiality Order

      In accordance with the terms of the Stipulated Confidentiality Order, the

parties have been filing (or requesting the court to file) documents designated as

“Confidential” under seal. On September 7 and October 21, 2011, this Court

entered Orders on Plaintiffs’ previous requests to seal documents and advised the

parties of the Court’s standard procedure for filing confidential information. (See

Docs. 214, 248.)      In an effort to promote the public availability of court




                                         3
        Case 1:09-cv-03280-AT Document 262 Filed 11/14/11 Page 4 of 7




documents, this Court ordered the parties to file redacted versions of their

motions and exhibits rather than sealing entire documents.

      On September 19, 2011, the Court held a hearing on Plaintiffs’ Motion for

Sanctions during which the parties tendered several Exhibits referencing or

containing “Confidential Material.” In its September 7th Order, the Court stated

that “Use of any documents or portion of a deposition filed under seal pursuant

to this Order at the September 19, 2011, will result in an unsealing of the

document and/or deposition.” (Doc. 214.) In accordance with the requirements

of the Stipulated Confidentiality Order, Plaintiffs notified Michelin on September

14, 2011, of their intention to introduce documents designated as “Confidential”

at the hearing before the Court. Prior to the start of the hearing, Michelin

requested that documents containing its confidential trade secrets not be

unsealed. At the conclusion of the hearing, the Court sealed all the Exhibits the

parties tendered and directed the parties to confer and notify the Court which

documents could be unsealed. (See Tr. 9/19/2011 Hr’g, Doc. 230 at 267-70.) On

September 30, 2011, Michelin notified the Court regarding (1) Plaintiffs’ position

that all of the documents used at the hearing should be unsealed and (2)

Michelin’s position regarding which documents should remain sealed.




                                        4
           Case 1:09-cv-03280-AT Document 262 Filed 11/14/11 Page 5 of 7




      D.      Court’s Ruling on Parties’ Pending Requests to Seal
              Documents and Standing Procedure for Future Requests to
              Seal Documents

      Plaintiffs   have   not   formally   challenged   Michelin’s   confidentiality

designations as to any of the documents at issue as expressly contemplated by the

parties’ Stipulated Confidentiality Order. Therefore, the documents are subject

to the terms of the parties’ Stipulated Confidentiality Order as previously agreed

upon and approved by the Court. Until such time as the Court is presented with a

motion objecting to Michelin’s confidentiality designations, all documents

previously marked “Confidential” pursuant to the Stipulated Confidentiality

Order will remain sealed.

      1.      Sanctions Hearing Exhibits

      As indicated during the September 19th sanctions hearing, it was not the

Court’s intention to unseal documents previously designated as containing

confidential trade secrets, subject to the parties’ Stipulated Confidentiality Order,

merely because of their use at the sanctions hearing. (See Tr. 9/19/2011 Hr’g,

Doc. 230 at 8-9.) Accordingly, the following Exhibits tendered at the September

19th hearing and previously designated by Michelin as containing “Confidential

Material” shall remain under seal: Plaintiffs’ Exhibits K, N, O, P, R, S, T, U, V, W,

X, and Defendant’s Exhibits 3, 4, and 6. In addition, the following Exhibits

tendered at the September 19th hearing shall be unsealed: Plaintiffs’ Exhibits A-

J, L, M, Q, Y, Z, AA, AB, and Defendant’s Exhibits 1, 2, and 5. However, Michelin


                                           5
          Case 1:09-cv-03280-AT Document 262 Filed 11/14/11 Page 6 of 7




is DIRECTED to file redacted copies of the depositions of Mr. Patrick (Plaintiffs’

Exhibit O) and Mr. Glazener (Plaintiffs’ Exhibit P) on CM/ECF consistent with its

representation to the Court in its September 30, 2011 Letter.

       2.      Requests to File Documents Under Seal

       This Court’s standard procedure for sealing documents conflicts with the

parties’ agreed method for the use of Confidential Material as set forth in the

Stipulated Confidentiality Order that Judge Story approved. Therefore, in order

to eliminate any further confusion or burden on the parties, the Court will revert

to the practices and procedures governing Confidential Material set forth in the

parties’ Stipulated Confidentiality Order. 1 Accordingly, Plaintiffs’ Notice of Filing

Affidavit of Troy Cottles, Plaintiffs’ Response to Defendant Michelin North

America, Inc.’s Motion to Exclude Certain Opinions of Mr. Troy Cottles, and

Plaintiffs’ Response to Defendant Michelin North America, Inc.’s Motion for

Partial Summary Judgment shall be filed under seal.

       For the remainder of this litigation, the parties shall follow the Stipulated

Confidentiality Order when submitting Confidential Material to the Court for use

1
  The Court’s ruling is not an indication, as Plaintiffs suggest in their November 8, 2011, letter,
that the Court does not have the “authority to determine what the Court will and will not place
on CM/ECF.” The purpose of the Court’s ruling is to return to the parties’ agreed upon practices
and procedures governing the use of confidential material as previously approved by the Court,
rather than have the parties go around and around regarding which portions of the briefs and
exhibits should be redacted for purposes of filing on the CM/ECF. In the interest of sanity and
judicial economy, the Court will allow the entire documents to be filed under seal in accordance
with the terms of the Stipulated Confidentiality Order unless or until Plaintiffs properly
demonstrate that the documents are not confidential and thus not entitled to protection from
public disclosure.


                                                6
        Case 1:09-cv-03280-AT Document 262 Filed 11/14/11 Page 7 of 7




during further proceedings. If Plaintiffs wish to challenge Michelin’s designation

of certain Confidential Material, Plaintiffs shall follow the procedure set forth in

Section II(3) of the Stipulated Confidentiality Order. The Court will consider

such a motion, if presented, in due course.

III.   Conclusion

       For the reasons set forth above, Defendant Michelin North America’s

request to seal certain Exhibits from the September 19, 2011, sanctions hearing

and Plaintiffs’ Motion to File Documents Under Seal are GRANTED.

       It is so ORDERED this 14th day of November, 2011.




                                      ___________________________________
                                      AMY TOTENBERG
                                      UNITED STATES DISTRICT JUDGE




                                         7
